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                               Nos. 25-1343, 25-1344, 25-1345
                        UNITED STATES COURT OF APPEALS
                            FOR THE FIRST CIRCUIT
      COMMONWEALTH OF MASSACHUSETTS; DANA NESSEL, on behalf of the
       people of the State of Michigan; STATE OF ILLINOIS; STATE OF ARIZONA;
           STATE OF CALIFORNIA; STATE OF CONNECTICUT; STATE OF
           COLORADO; STATE OF HAWAII; STATE OF MAINE; STATE OF
       MARYLAND; STATE OF MINNESOTA; STATE OF NEVADA; STATE OF
      NEW JERSEY; STATE OF DELAWARE; STATE OF NEW MEXICO; STATE
        OF NEW YORK; STATE OF NORTH CAROLINA; STATE OF OREGON;
            STATE OF RHODE ISLAND; STATE OF VERMONT; STATE OF
                           WASHINGTON; STATE OF WISCONSIN,
                                         Plaintiffs - Appellees,
                                                    v.
      NATIONAL INSTITUTES OF HEALTH; JAY BHATTACHARYA, M.D., Ph.D.
         in their official capacity as Director of the National Institutes of Health; U.S.
      DEPARTMENT OF HEALTH AND HUMAN SERVICES (HHS); ROBERT F.
       KENNEDY, JR., in their official capacity as Secretary of the U.S. Department of
                                    Health and Human Services,
                                       Defendants - Appellants.
       ASSOCIATION OF AMERICAN MEDICAL COLLEGES; THE AMERICAN
       ASSOCIATION OF COLLEGES OF PHARMACY; THE ASSOCIATION OF
       SCHOOLS AND PROGRAMS OF PUBLIC HEALTH; THE CONFERENCE
         OF BOSTON TEACHING HOSPITALS, INC.; GREATER NEW YORK
                                   HOSPITAL ASSOCIATION,
                                         Plaintiffs - Appellees,
                                                    v.
      NATIONAL INSTITUTES OF HEALTH; JAY BHATTACHARYA, M.D., Ph.D.
         in their official capacity as Director of the National Institutes of Health; U.S.
      DEPARTMENT OF HEALTH AND HUMAN SERVICES (HHS); ROBERT F.
       KENNEDY, JR., in their official capacity as Secretary of the U.S. Department of
                                    Health and Human Services,
                                       Defendants - Appellants.
      ASSOCIATION OF AMERICAN UNIVERSITIES; AMERICAN COUNCIL ON
            EDUCATION; ASSOCIATION OF PUBLIC AND LAND-GRANT
           UNIVERSITIES; BRANDEIS UNIVERSITY; BROWN UNIVERSITY;
             CARNEGIE MELLON UNIVERSITY; THE REGENTS OF THE
           UNIVERSITY OF CALIFORNIA; THE UNIVERSITY OF CHICAGO;
        CORNELL UNIVERSITY; THE GEORGE WASHINGTON UNIVERSITY;
          JOHNS HOPKINS UNIVERSITY; MASSACHUSETTS INSTITUTE OF
       TECHNOLOGY; TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA;
        UNIVERSITY OF ROCHESTER; TRUSTEES OF TUFTS COLLEGE; THE
                      CALIFORNIA INSTITUTE OF TECHNOLOGY,
                                        Plaintiffs - Appellees,
                                                   v.
          DEPARTMENT OF HEALTH AND HUMAN SERVICES; NATIONAL
         INSTITUTES OF HEALTH; ROBERT F. KENNEDY, JR., in their official
       capacity as Secretary of the U.S. Department of Health and Human Services; JAY
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          BHATTACHARYA, M.D., Ph.D. in their official capacity as Director of the
                         National Institutes of Health,
                             Defendants - Appellants.
       On Appeal from the United States District Court for the District of Massachusetts
          BRIEF OF AMICI CURIAE MEMBERS OF THE U.S. CONGRESS
               IN SUPPORT OF APPELLEES AND AFFIRMANCE
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                               INTERESTS OF AMICI CURIAE 1
              Proposed amici are 152 Members of Congress who are well-acquainted with the
       National Institutes of Health (“NIH”) and the legislative framework Congress has
       enacted to advance the federal legislature’s health research funding priorities.
       Specifically, Congress, including Members in proposed amici, passed a 2018 rider
       ensuring that NIH must maintain funding for indirect costs of research at their
       negotiated levels and could not expend appropriated resources to change that grant
       structure. The proposed amici include Members who drafted the 2018 rider, advocated
       in a 2017 hearing for the importance of indirect costs in NIH grants, and currently
       serve on committees with jurisdiction over NIH. They thus have an interest in
       ensuring that NIH adheres to the funding restrictions, priorities, and limitations set by
       Congress. That interest is directly implicated here: NIH’s issuance of its Rate Change
       Notice, which caps indirect cost reimbursement rates, violates clear statutory limits
       imposed by Congress, encroaches on the constitutional separation of powers by
       disregarding Congress’s exclusive authority to control federal spending, and interferes
       with Congress’s ability to carry out its mission of funding health research according to
       priorities and conditions set by law. These efforts to cap indirect costs of NIH grants
       also threaten losing discoveries for treatments and cures for diseases, harming local
       economies dependent on research institutions, and defunding the future of American
       science, which have long been a priority of Congress. Amici possess a substantial
       interest in the outcome of this case.



          1
            A full list of amici appears as an Appendix to this brief. Pursuant to Fed. R. App.
       P. 29(a)(4)(E), no party’s counsel authored this brief, in whole or in part. No party or
       party’s counsel contributed money that was intended to fund preparing or submitting
       this brief. No person other than amici curiae or their counsel contributed money that
       was intended to fund preparing or submitting this brief. The parties have consented to
       the filing of this brief.

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                                     I.     INTRODUCTION
              Seven years ago, the first Trump Administration proposed to Congress a
       budget that capped indirect cost reimbursements, a part of the National Institutes of
       Health (“NIH”) funding that pays for necessary costs of biomedical research such as
       facilities, equipment, and compliance with regulations. 2 Recognizing that a blanket cap
       would have devastating effects on research in the United States, Congress rejected the
       proposal and mandated that the Department of Health and Human Services (“HHS”)
       maintain—and not reduce—the reimbursement levels for indirect costs. 3 President
       Trump signed that appropriations Act into law, and an equivalent provision has been
       re-enacted every year since, and again by President Trump in March 2025. 4
              The NIH now seeks to disregard Congress’s spending power by slashing and
       capping indirect costs on all present and future NIH grant awards for biomedical
       research. 5 This attempt to slash and cap research funding violates Congressionally-
       enacted law. The plain text of the most recent appropriations law—the Further
       Consolidations Act, 2024—mandates that indirect costs be negotiated rather than
       capped at a particular percentage and prohibits HHS from using funds to modify this
       regime. Congress first enacted this framework in 2018, in direct response to the first

          2
            Off. of Mgmt & Budget, Major Savings and Reforms: Budget of the U.S. Government
       Fiscal Year 2018, at 43 (2017).
          3
            Consolidated Appropriations Act, 2018, Pub. L. No. 115-141, § 226, 132 Stat.
       348; Role of Facilities and Administrative Costs in Supporting NIH-Funded Research
       Before the Subcomm. on Labor, Health and Human Services, Education, and Related
       Agencies of the H. Comm. On Appropriations, 115th Cong. passim (2017) (“Indirect
       Costs Hearing Tr.”).
          4
           See Full-Year Continuing Appropriations Act, 2025 (2025 Continuing
       Resolution), Div. A Pub. L. No. 119-4, §§ 1101(a) & (a)(8).
          5
             Off. of Dir., Nat’l Inst. of Health, Supplemental Guidance to the 2024 NIH Grants
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       https://grants.nih.gov/grants/guide/notice-files/NOT-OD-25-068.html (“Rate
       Change Notice”).


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       Trump Administration’s attempts to cap indirect costs at 10 percent. And every year
       since, Congress has passed (and the President has signed) the same appropriations
       language into law to preserve existing levels of indirect cost funding and the existing
       negotiated regime. The Congress, not the Executive, controls the power of the purse.
       And after a bill is passed by Congress and signed by the President, as has been the
       case here each year since 2018, the Executive must carry out its duly enacted
       appropriations.
               Moreover, the Rate Change Notice undermines Congress’s express goals of
       funding essential biomedical research by stopping that research, cutting local jobs, and
       defunding a generation of future scientists. Because this funding cannot be replaced
       easily (or at all), 6 the funding cuts that will necessarily follow the Rate Change Notice’s
       cost cap will force universities to end essential research programs, 7 including critical
       cancer research. 8 As put by Lawrence O. Gostin, an expert in public health law, these
       changes are “literally the opposite of the mission of the N.I.H., which is to advance
       research, not to make it difficult or even unaffordable.” 9


          6
            Maggie Chen, The Chaos of NIH Cuts has Left Early-Career Scientists Scrambling,
       Wired, (Mar. 24, 2025), https://www.wired.com/story/the-chaos-of-nih-cuts-has-left-
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          9
            Christina Jewett & Sheryl Gay Stolberg, Trump Administration Cuts Put Medical
       Progress at Risk, Researchers Say, New York Times (Feb. 7, 2025),
       https://www.nytimes.com/2025/02/07/us/politics/medical-research-funding-cuts-
       university-budgets.html?searchResultPosition=1%2.


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                Accordingly, the district court’s injunction against the Rate Change Notice
       should be affirmed.
                                        II.   BACKGROUND
                Created by Congress in 1930, the NIH is the leading federal agency for health
       and biomedical research. 10 The NIH’s grant funding represents “a longstanding
       alliance between the federal government and universities that helped make the United
       States the world leader in medical science.” 11 In the early 1930s, scientific research at
       universities in the United States was largely funded through philanthropy or private
       foundations. 12 To bolster national defense interests during World War II, Congress
       empowered the NIH to establish a grant partnership between research institutions
       and the government that would support the essential infrastructure of domestic
       medical research. 13
                Today, the NIH is the largest single funder of biomedical research in the
       United States. 14 NIH grants are composed of direct and indirect costs. Direct costs
       are any cost that can be identified with a specific project, and indirect costs are shared




          10
            Kavya Sekar, Cong. Rsch. Serv., R41705, National Institutes of Health (NIH):
       Background and Congressional Issues, at 2–3 (2025).
          11
             Irene Hwang et al. Here are the Nearly 2,500 Medical Research Grants Canceled or
       Delayed by Trump, New York Times (Jun 4, 2025),
       https://www.nytimes.com/interactive/2025/06/04/health/trump-cuts-nih-grants-
       research.html?smid=nytcore-android-share.
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            Written Testimony of Dr. Kelvin K. Droegemeier, Indirect Costs Hearing
       (2017), 7, https://docs.house.gov/meetings/AP/AP07/20171024/106525/HHRG-
       115-AP07-Wstate-DroegemeierK-20171024.pdf.
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               Id., at 8.
          14
             Danielle Li, Pierre Azoulay & Bhaven Sampat, The Applied Value of Public
       Investments in Biomedical Research, 356 Science 78, 78 (2017).


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       facilities and administrative costs. 15 Indirect costs are negotiated with NIH by each
       institution in a process governed by federal regulations. 16 They are typically set
       between 40% and 60%. 17 Very few, if any, fall below 15%. The indirect costs are
       added on top of the direct grant, so if a $1 million grant has an indirect cost of 25%,
       the full grant is $1.25 million, and only 20% of the full value goes to indirect costs. 18
                In 2018, in direct response to the first Trump administration’s efforts to cap
       indirect costs at 10%, Congress passed legislation (signed by the President) restricting
       the Executive Branch from changing the above-described approach to indirect cost
       reimbursements or otherwise altering reimbursement methods for fiscal ends. 19 Since
       then, Congress has readopted these restrictions against modifying indirect cost
       reimbursements in appropriations acts each year. 20
                Yet despite these legislative restrictions, on February 7, 2025, the NIH issued a
       Supplemental Guidance document on indirect costs—i.e., the Rate Change Notice.
       This Notice eliminates the individually-negotiated-rate regime and in its stead installs a
       flat cap of 15% across all grants. According to the Notice, this cap is needed to
       “ensure that as many funds as possible go towards direct scientific research costs

          15
             Nat’l Inst. of Health, 7.3 Direct Costs and Facilities and Administrative Costs, NIH
       Grants Policy Statement (Apr. 2024),
       https://grants.nih.gov/grants/policy/nihgps/html5/section_7/7.3_direct_costs_and
       _facilities_and_administrative_costs.htm.
          16
               Droegemeier Written Testimony, at 3; 45 C.F.R. § 75.
          17
            Megan L. Blonigen & Frances Y. Yong, Harvard’s Indirect Cost Rate, Explained,
       Harvard Crimson (Apr. 2, 2025), https://www.thecrimson.com/article/2025/4/2/
       harvard-indirect-cost-rate-explained/.
          18
            Jocelyn Kaiser, NIH Plan to Reduce Overhead Payments Draws Fire, Science (June 2,
       2017), https://www.science.org/content/article/nih-plan-reduce-overhead-payments-
       draws-fire.
          19
             See Consolidated Appropriations Act, 2018, Pub. L. No. 115-141, § 226, 132
       Stat. 348, 740 (2018).
          20
               See infra at § III.B.3.


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       rather than administrative overhead,” but NIH has also stated the cap’s purpose is to
       “save” money appropriated for research. 21 Under either justification—whether
       reallocating funds away from negotiated indirect costs or withholding them
       altogether—NIH is engaging in precisely the kind of conduct Congress has expressly
       prohibited.
                                                  III.   ARGUMENT
       A.         The United States Constitution forbids the Executive from withholding
                  funding for NIH grants that Congress appropriated through the
                  legislative process.
                  1.      The Constitution vests the power of the purse in Congress, not the
                          Executive Branch.
                  The Rate Change Notice violates basic separation-of-powers principles: Once
       Congress appropriates and directs the use of federal funds, the Executive must follow
       its command. The Spending Clause of the U.S. Constitution provides that Congress
       shall have power to “pay the Debts and provide for the common Defence and general
       Welfare of the United States.” 22 The Appropriations Clause of the Constitution
       reinforces this exclusivity: “No Money shall be drawn from the Treasury, but in
       Consequence of Appropriations made by Law.” 23 The Supreme Court has
       underscored the “straightforward and explicit command of the Appropriations
       Clause. ‘It means simply that no money can be paid out of the Treasury unless it has
       been appropriated by an act of Congress.’” 24 That authority is not merely fiscal; it is




            NIH (@NIH), Twitter (Feb. 7, 2025), https://x.com/NIH/status/
            21

       1888004759396958263.
            22
                 U.S. Const. art. I, §8, cl. 1.
            23
                 U.S. Const. art. I, §9, cl. 7.
             Off. of Pers. Mgmt. v. Richmond, 496 U.S. 414, 424 (1990) (citing Cincinnati Soap Co.
            24

       v. United States, 301 U.S. 308, 321 (1937)); see also infra § III.A.2.


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       legislative in nature. Congress defines federal policy not only by enacting statutes, but
       by deciding whether and how to fund them. 25
                By vesting the power of the purse solely in Congress, 26 the Constitution
       established “both a critical constitutional limitation on the Executive and a
       constitutional duty of Congress.” 27 As James Madison observed, the power of the
       purse may be regarded as “the most complete and effectual weapon with which any
       constitution can arm the immediate representatives of the people,” namely, the
       Congress, “for obtaining a redress of every grievance, and for carrying into effect
       every just and salutary measure.” 28 Entrusting the Executive with the duty to take care
       that the laws be faithfully executed—while vesting the spending power in Congress—
       has always been essential to the separation of powers. 29
                2.      It is the duty of the Executive Branch to faithfully execute the
                        statutory appropriations Congress has enacted.
                Conversely, the role of the Executive branch is to carry out—and not to
       tamper with—the appropriations that Congress enacts. At the time that a bill passes
       both houses of Congress, the Constitution limits the Executive’s role through the
       Presentment Clause, which grants the President only two options: sign the bill into
       law or veto it in its entirety. 30 Once a law is enacted, the President has no authority to
       amend or disregard it. Instead, the Constitution imposes a duty: under the Take Care
       Clause, the President “shall take Care that the Laws be faithfully executed.” 31

          25
               See infra § III.A.2.
          26
             See U.S. Gov’t Accountability Off., Principles of Federal Appropriations Law, ch. 1, 1-
       4, n.1 (4th ed. 2016 rev.), https://www.gao.gov/legal/redbook/redbook.html.
          27
               Kate Stith, Congress’ Power of the Purse, 97 Yale L.J. 1343, 1394 (1988).
          28
               The Federalist No. 58 (James Madison).
          29
               The Federalist No. 48 (James Madison).
          30
               U.S. Const. art. I, § 7. cls. 2, 3.
          31
               U.S. Const. art. II, § 3.


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                Consistent with that obligation and the “explicit command” of the
       Appropriations Clause, the Executive may not unilaterally withhold funds that
       Congress has directed to be spent. The Supreme Court made this principle clear as
       early as 1838 in Kendall v. United States ex rel. Stokes, 32 where it unanimously rejected the
       Postmaster General’s claim that, as an official of the executive branch, he could
       withhold money Congress had required him to spend. The Court balked at the
       assertion that the Executive possessed inherent constitutional authority to rescind
       appropriated funds: “To contend that the obligations imposed on the President to see
       the laws faithfully executed, implies a power to forbid their execution; is a novel
       construction of the constitution, and is entirely inadmissible.” 33 Sanctioning such a
       theory would be “vesting in the President a dispensing power, which has no
       countenance for its support in any part of the constitution.” 34 The Court refused to
       “assert[] a principle, which, if carried out in its results to all cases falling within it,
       would be clothing the President with a power to control the legislation of congress.” 35
                This principle was reaffirmed in the 1970s, when courts repeatedly invalidated
       President Nixon’s efforts to impound funds. 36 The issue reached the U.S. Supreme
       Court in Train v. City of New York, where President Nixon had attempted to withhold


          32
               37 U.S. 524 (1838).
          33
               Id. at 525.
          34
               Id. at 612-613.
          35
               Id. at 613–14.
          36
             See State Highway Comm’n of Missouri v. Volpe, 479 F.2d 1099, 1112–14 (8th Cir.
       1973) (holding Secretary of Transportation could not impound funds for reasons not
       supplied by Congress); Maine v. Fri, 486 F.2d 713, 716 (1st Cir. 1973) (affirming a
       preliminary injunction requiring the Environmental Protection Agency to disburse
       appropriated funds); Louisiana ex rel. Guste v. Brinegar, 388 F. Supp. 1319, 1324–25
       (D.D.C. 1975) (“[T]he President’s express or implied constitutional powers [do not]
       justify holding back authorized funds,” because “Congress, not the President, retains
       the constitutional role of guardian of the Treasury.”).


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       funds appropriated under the Federal Water Pollution Control Act Amendments of
       1972. 37 The Court unanimously rejected the President’s attempt to withhold funding
       based on the absence of discretion in the governing statute. 38 Ultimately, Congress
       enacted the Impoundment Control Act 39 (“ICA”) to establish a narrow process by
       which the Executive may propose a rescission or deferral of spending, subject to
       congressional approval.
                As Justice Scalia later summarized in Clinton v. City of New York, “President
       Nixon, the Mahatma Gandhi of all impounders, asserted at a press conference in
       1973 that his ‘constitutional right’ to impound appropriated funds was ‘absolutely
       clear.’…Our decision two years later in Train v. City of New York proved him
       wrong.” 40 Invalidating the Line Item Veto Act—which would have granted the
       President a unilateral power to veto some provisions of bills while signing other
       provisions into law—the Clinton majority reaffirmed that “[t]here is no provision in
       the Constitution that authorizes the President to enact, to amend, or to repeal
       statutes.” 41
                Courts have continued to apply these principles. In In re Aiken County, 42 then-
       Circuit Judge Kavanaugh explained: “[T]he President and federal agencies ‘may not
       ignore statutory mandates or prohibitions merely because of policy disagreement with




          37
               420 U.S. 35 (1975).
          38
               Id. at 42–46.
          39
               Pub. L. 93-344, 88 Stat. 297 (1974).
          40
             524 U.S. 417, 468 (1998) (Scalia, J., concurring in part and dissenting in part)
       (citation omitted).
          41
               Id. at 438.
          42
               725 F.3d 255 (D.C. Cir. 2013).


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       Congress.’” 43 This principle reinforces a broader constitutional rule: The Executive
       may not reallocate appropriated funds or unilaterally decline to spend them when
       such actions are inconsistent with a statutory command. 44
       B.        The plain, express, and unambiguous NIH appropriations statute
                 passed by Congress bars the agency’s proposed changes to its
                 calculation of indirect cost reimbursement.
                 1.     Since 2018, each appropriations statute signed into law has
                        expressly prohibited NIH from altering negotiated indirect cost
                        reimbursements.
                 In 2018, Congress passed an appropriations rider, the Consolidated
       Appropriations Act, 2018, Pub. L. No. 115-141, § 226, 132 Stat. 348, which, by its
       plain language prohibits HHS and, by extension, NIH from spending appropriated
       funds “to develop or implement a modified approach to” the reimbursement of
       “indirect costs” and “deviations from negotiated rates.” This has remained the law
       from its passage through the present day. 45



             Id. at 260 (citing Lincoln v. Vigil, 508 U.S. 182, 193 (1993) (“Of course, an agency
            43

       is not free simply to disregard statutory responsibilities: Congress may always
       circumscribe agency discretion to allocate resources by putting restrictions in the
       operative statutes...”)).
            See City & Cty. of San Francisco v. Trump, 897 F.3d 1225, 1235 (9th Cir.
            44

       2018) (“Absent congressional authorization, [an agency] may not redistribute or
       withhold properly appropriated funds in order to effectuate its own policy goals.”).
            See Division H of Pub. L. No. 118-47, §224, 138 Stat. 677, as continued in effect
            45

       by the Full-Year Continuing Appropriations Act, 2025 (division A of Pub. L. No.
       119-4) §§1101(a) & (a)(8), 139 Stat. 10, 11; see also Department of Defense and Labor,
       Health and Human Services, and Education Appropriations Act, 2019 and Continuing
       Appropriations Act, 2019, Pub. L. No. 115-245, § 224, 132 Stat. 2981, 3094 (2018);
       Further Consolidated Appropriations Act, 2020, Pub. L. No. 116-94, § 224, 133 Stat.
       2534, 2582 (2019); Consolidated Appropriations Act, 2021, Pub. L. No. 116-260, §
       224, 134 Stat. 1182, 1594 (2020); Consolidated Appropriations Act, 2022, Pub. L. No.
       117-103, § 224, 136 Stat. 49, 470-71 (2021); Consolidated Appropriations Act, 2023,
       Pub. L. No. 117-328, § 224, 136 Stat. 4459, 4883-84 (2022); Further Consolidated
       Appropriations Act, 2024, Pub. L. No. 118-47, § 224, 138 Stat. 460, 677 (2023).

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                Section 224 of the Further Consolidated Appropriations Act, 2024, Public Law
       118-47 (“Section 224”), provides:

                        In making Federal financial assistance, the provisions
                        relating to indirect costs in part 75 of title 45, Code of
                        Federal Regulations, including with respect to the approval
                        of deviations from negotiated rates, shall continue to apply
                        to the National Institutes of Health to the same extent and
                        in the same manner as such provisions were applied in the
                        third quarter of fiscal year 2017. None of the funds
                        appropriated in this or prior Acts or otherwise made
                        available to the Department of Health and Human Services
                        or to any department or agency may be used to develop or
                        implement a modified approach to such provisions, or to
                        intentionally or substantially expand the fiscal effect of the
                        approval of such deviations from negotiated rates beyond
                        the proportional effect of such approvals in such quarter.
                As the district court correctly observed, “[t]his rider contains three, overlapping
       provisions meant to restrict NIH’s ability to enact an across-the-board rate
       reduction.” 46 The Rate Change Notice “is in direct contravention of Section 224.” 47
                First, with respect to the approval of deviations from negotiated rates, the
       regulations codified at 45 C.F.R. § 75— which provide a framework for determining
       indirect cost reimbursement, including a process for requesting and approving
       deviations on a case-by-case basis—“shall continue to apply to the NIH to the same
       extent and in the same manner as such provisions were applied in the third quarter of
       fiscal year 2017.” 48 The Rate Change Notice, by replacing this individualized
       procedure with a uniformly applied rate, violates this command.




          46
               Addendum to Defendants-Appellants’ Principal Brief, at 25.
          47
               See id. at 28.
          48
               Section 224.


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                Second, “[n]one of the funds appropriated . . . may be used to develop or
       implement a modified approach to such provisions.” 49 This language is both
       deliberate and sweeping. It forecloses not only the adoption of a new policy but also
       the preparatory work that would lead to one—the agency may not even begin to
       engage funds in the development of an alternative framework for indirect cost
       reimbursement.
                Third, “[n]one of the funds appropriated . . . may be used . . . to intentionally or
       substantially expand the fiscal effect of the approval of such deviations from
       negotiated rates beyond the proportional effect of such approvals in such quarter.” 50
       The meaning of this language is clear. Congress selected the third quarter of fiscal year
       2017 as the benchmark and prohibited NIH from approving deviations that would
       have a greater overall financial impact than the deviations approved during that
       quarter. 51
                Taken as a whole, the statute mandates that NIH adheres to the same
       regulatory framework in place in the third quarter of fiscal year 2017, prohibits any
       structural deviation from that approach, and forbids any expansion in the fiscal
       impact of deviation approvals. It also bars the agency from developing any modified
       approach—prohibiting not just the adoption of a new system, but the very use of
       appropriated funds to design, plan, or prepare one.




          49
               Id.
          50
               Id.
          51
             See Appellee Br. Nos. 25-1344, 25-1345, at 29 (“The ‘fiscal effect’ of a drastic
       across-the-board deviation to a 15% rate is plainly not ‘proportional’ to the ‘fiscal
       effect’ of any deviations NIH may have approved in 2017, since negotiated rates have
       historically averaged about 30%.”).


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                The context and legislative history of the 2018 appropriation, reenacted every
       year since, 52 reflects an unmistakable Congressional intent to preserve the indirect rate
       methodology that was in place in 2017.
                2.     Congress has repeatedly rejected the very cuts to indirect funding
                       that the Executive now pursues.
                Generally, when the plain language of the statute unambiguously reflects the
       intent of Congress, the Court’s work is done. 53 But the context and history of the
       statute still provides “confirmatory evidence of Congress’s intent.” 54 That Congress
       rejected prior attempts by the Trump Administration to cap indirect funding—and
       restricted the Administration’s ability to develop a modified approach to negotiated
       indirect rates—confirms that the Rate Change Notice is contrary to law. 55
                In 2017, the Trump administration proposed a cap on indirect costs at 10% of
       total research costs in NIH grants with the same policy justifications as the Rate
       Change Notice. 56 In support of the proposal, the administration claimed that
       “available funding can be better targeted,” 57 and that the proposal would bring the
       NIH indirect cost reimbursement rate more in line with private foundations. 58 As
       reflected by the statutory text above, Congress rejected both the proposed caps and
       the suggested policy justifications.

          52
               See supra n.44.
          53
               Food Mktg. Inst. v. Argus Leader Media, 588 U.S. 427, 436 (2019).
          54
              McKenna v. First Horizon Home Loan Corp., 475 F.3d 418, 424–25 (1st Cir. 2007);
       see also Mundell v. Acadia Hosp. Corp., 92 F.4th 1, 13 (1st Cir. 2024).
          55
             Simmons v. Galvin, 575 F.3d 24, 38 (1st Cir. 2009) (“Two points are important.
       First, Congress rejected each those proposed amendments.”); Succar v. Ashcroft, 394
       F.3d 8, 34 (1st Cir. 2005).
          56
             Off. of Mgmt & Budget, Major Savings and Reforms: Budget of the U.S. Government
       Fiscal Year 2018, at 43 (2017).
          57
               Id.
          58
               Id.


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                Beyond the text of the statute, both chambers of Congress expressed their
       intent to reject caps to indirect costs in the 2018 rider. 59 The House report stated that
       the proposal to cap indirect costs was “misguided and would have a devastating
       impact on biomedical research across the country,” so the 2018 rider included “a new
       general provision directing NIH to continue reimbursing institutions for F&A costs
       according to the rules and procedures described” in the regulations and prohibited the
       NIH from using funds to implement “any further caps” on indirect funding. 60
                Similarly, the Senate report stated “F&A costs are not optional; they are a
       fundamental part of doing research.” 61 The Senate report also explained, “the
       Committee has included bill language to prohibit HHS from developing or
       implementing a modified approach to funding F&A costs.” 62 As explained above,
       HHS was not permitted to pursue the project of creating the rate change notice. 63
       These reports confirm that both the House and Senate were concerned about the first
       Trump administration’s proposal to severely cut NIH indirect cost rates by capping
       them at an arbitrary level and the “devastating” consequences that such cuts would
       have on research.
                Additionally, the House of Representatives Subcommittee on Labor, Health
       and Human Services, Education, and Related Agencies held a hearing on indirect
       costs where House members supported maintaining the NIH’s longstanding approach


          59
            The Joint Explanatory Statement sets out the instructions for implementation
       and incorporated the House and Senate reports to the extent they were not
       contradicted by the Joint Explanatory Statement. 164 Cong. Rec. H2697 (daily ed.
       Mar. 22, 2028) https://www.congress.gov/115/crec/2018/03/22/CREC-2018-03-
       22-bk3.pdf#page=1.
          60
               H.R. Rep. No. 115-244, at 50 (2017).
          61
               S. Rep. No. 115-150, at 8 (2017).
          62
               Id. at 109.
          63
               See supra at 12.


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       to negotiated indirect costs. For example, Representative DeLauro, ranking member
       on the Appropriations Committee in 2017, explained that the language in the House
       Bill was added to counter the administration’s proposed cap on indirect costs, which
       she called a “shortsighted proposal.” 64 Representative Lowey stated that “[i]f the HHS
       decides to move unilaterally to cap funds to research facilities, it would be
       catastrophic for biomedical research in our country…[a] unilateral move by HHS
       would also be alarming, as it directly opposes congressional intent.” 65 During the
       hearing, none of the members indicated support for a 10 percent cap on indirect
       costs. These bipartisan statements underline Congress’s rejection of the first Trump
       Administration’s proposal to arbitrarily cap indirect cost rates and explain why
       Congress instead enacted the 2018 rider to maintain negotiated indirect costs.
                The Rate Change Notice presents the same policy—a fifteen percent cap on
       indirect costs—with the same asserted justifications as the Trump administration’s
       2017 budget proposal: more direct funding to science and lower indirect cost
       reimbursements associated with private foundation grants. 66 But having failed to meet
       its goals in the legislative arena, the Executive Branch is bound by the law that
       Congress has enacted and is not free to “ignore statutory mandates or prohibitions
       merely because of policy disagreement with Congress”—particularly statutory
       mandates specifically enacted to reject the Department’s position. 67




          64
               Indirect Costs Hearing Tr. at 3.
          65
               Id. at 5.
          66
               Rate Change Notice; see also Appellant Br. at 43–44, 48, 51.
          67
               In re Aiken County, 725 F.3d at 260.


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                3.     The uninterrupted re-enactment of the indirect costs rate every
                       year since 2017 confirms Congress’s will that funding continue.
                The intent of Congress has remained unchanged. 68 The language on indirect
       costs has remained unchanged in every appropriations bill since 2017. 69 In 2019, the
       first Trump administration itself acknowledged that the language in the appropriation
       “prohibited [the NIH] by law from reducing grantee administrative costs.” 70 In a
       subsequent budget request, the administration urged Congress to eliminate that
       prohibition, but Congress declined to do so and maintained the same text on indirect
       costs. 71 At every opportunity, Congress has repeatedly, consistently, and
       unambiguously mandated that the NIH maintain negotiated indirect cost rates and
       not use appropriated funds to even consider deviating from using the negotiated
       indirect cost rates. Congress’s clarity—as reflected in both the text of the Act and the
       legislative history—refutes any claim that the NIH is now free to cap indirect costs on
       its own terms, without following legislative directives, across the board. 72




          68
             Pierce v. Underwood, 487 U.S. 552, 567 (1988) (“Quite obviously, reenacting
       precisely the same language would be a strange way to make a change.”).
          69
               See supra n.45.
          70
              Off. of Mgmt & Budget, Major Savings and Reforms: Budget of the U.S. Government
       Fiscal Year 2020, at 43 (2019), https://www.govinfo.gov/content/pkg/BUDGET-
       2020-MSV/pdf/BUDGET-2020-MSV.pdf.
          71
            Id.; Further Consolidated Appropriations Act, 2020, Pub. L. No. 116-94, § 224,
       133 Stat. 2534, 2582 (2019).
          72
             See e.g., Appellant Br. at 8 (“But neither did Congress prohibit NIH from
       deviating from negotiated indirect-cost rates.”); id. at 44 (“If Congress had intended to
       divest NIH of its own regulatory authority to act, it would have said so, rather than
       directing adherence to HHS regulations that expressly authorize deviations.”).


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       C.         The balance of policy interests considered by Congress weighs in favor
                  of maintaining the negotiated indirect funding.
                  1.     Cuts to indirect cost reimbursements will slow down or stop vital
                         scientific and medical progress.
                  As Congress recognized during the passage of the 2018 rider, caps on indirect
       costs would “drastically reduce the amount and quality of research conducted in the
       United States.” 73 This reduction would endanger lives by stopping the progress
       towards treatments and cures for diseases. 74 In the short term, capping indirect costs
       will have two major consequences for science and medicine in the United States. First,
       it will halt clinical trials, cutting patients off from lifesaving treatments. Second,
       research institutions will have to slow down or pause cutting-edge research programs.
                  Clinical trials at multiple research institutions are at risk. For example, the
       following research institutions report they may have to suspend clinical trials if the
       cuts to indirect funding go into effect:
            • At the University of Pennsylvania, “[a] 15 percent cap on F&A costs would
                  disrupt numerous ongoing clinical trials in cancer treatment, immunotherapy
                  and bone marrow transplant therapy with enrolled patients, including those
                  who have already started but not yet completed treatment”; these trials include
                  48 ongoing clinical trials with over 12,000 active enrolled subjects at the Penn
                  Cancer Center. 75
            • At Johns Hopkins University, there are over 600 NIH-funded clinical trials, and
                  some, including a clinical trial on immunotherapy for Hodgkin lymphoma in




            73
                 Indirect Costs Hearing Tr. at 1–2 (Chairman Cole opening statement); see also id.
       at 3.
            74
                 Id. at 3–4 (Rep. DeLauro remarks).
            75
                 J.A. 1069 (Decl. of Elizabeth Duggins Peloso).


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                children and adults, could not proceed if the 15 percent caps on indirect
                funding went forward. 76
          • At the University of Michigan, there are “425 NIH-funded interventional
                clinical trials underway and not yet completed” with prevention of “death,”
                “mortality,” or “improved survival” being the goal of 161 of those trials. 77
       If NIH’s indirect rate cut is allowed, researchers will be forced “to suspend or cancel
       ongoing clinical trials for potentially life-saving investigational therapies, the
       consequences to individual patients could include their death or the advancement of
       their condition to the point where recovery from it is no longer possible.” 78 Even a
       pause in federal funds may make resuming trials difficult or impossible in part because
       of the loss of core workforce and knowledge. 79
                The same cuts would also force many research institutions to pause or cancel
       vital and groundbreaking research. 80 According to these institutions, areas of research
       that will be disrupted with a cap on indirect costs include the following:
          • At Carnegie Mellon University in Pennsylvania, a cap on indirect funding
                would end or seriously jeopardize research for restoring sight for patients with
                corneal blindness, treatments for Parkinson’s, paralysis due to stroke, and
                treatments for epilepsy. 81



          76
               J.A. 1020–21 (Decl. of Laurent Heller).
          77
               J.A. 1050 (Decl. of Arthur Lupia).
          78
               J.A. 180 (Decl. of Denise Barton).
          79
               Id.
          80
             Christina Jewett & Sheryl Gay Stolberg, Trump Administration Cuts Put Medical
       Progress at Risk, Researchers Say, New York Times (Feb. 7, 2025),
       https://www.nytimes.com/2025/02/07/us/politics/medical-research-funding-cuts-
       university-budgets.html?searchResultPosition=1%27.
          81
               J.A. 959–961 (Decl. of Theresa S. Mayer).


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          • At Arizona’s public universities, research into Alzheimer’s treatments, asthma,
                reversing hearing loss, and preventing cancer for Indigenous people would face
                shortages and cuts. 82
          • At the University of Wisconsin, Madison, research on “cancer treatment
                (including pediatric), Alzheimer’s Disease and other types of dementia, cardiac
                conditions, fetal heart conditions, maternal–fetal health…and more” may be
                disrupted. 83
                A shutdown of research would have irreversible future effects. For example, at
       UMass Chan Medical School, indirect funding pays for the staff that care for
       irreplaceable cell lines and laboratory animals, which will be difficult if not impossible
       for the university to start again. 84 Capping indirect costs also risks stalling or stopping
       the discovery of treatments and cures for disease.
                Cutting research programs now will affect science and medical progress far into
       the future. In NIH, Congress has invested significant funds into fundamental science
       for the purpose of improving national health, the economy, and creating world-class
       research programs in the United States. 85 Fundamental to the establishment of the
       NIH grant system itself, scientific and medical discovery also promotes national
       security: NIH funding supports research on antibiotic resistance, vaccines, and
       preventing the next pandemic. 86 Many worry about the United States’ losing its

          82
            Jim Small, Arizona Universities Face Massive Cuts to Medical Research if Trump’s Plan is
       Implemented, AZ Mirror (Feb. 11, 2025), https://azmirror.com/briefs/arizona-
       universities-face-massive-cuts-to-medical-research-if-trumps-plan-is-implemented/.
          83
               J.A. 1178–79 (Declaration of Dorota Grejner-Brzezinska).
           J.A. 180 (Decl. of Denise Barton); See also J.A. 1070-71 (Decl. of Elizabeth
          84

       Duggins Peloso).
          85
               Indirect Costs Hearing Tr, 2–4.
          86
             Id. at 58; Venuri Siriwardane & Maddy Franklin, From Psychosis to Sleep to Drug
       Resistance, These Pittsburgh Research Efforts are Threatened by Trump Spending Cuts, Orders,


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       competitive edge. 87 By comparison, nations like India, China, and South Korea are
       increasing their governmental investments in science. 88 The United States spent $923
       billion on medical research and development in 2022, while China spent $812 billion
       and that level of funding is still rising. 89 Indirect cost caps would drive the United
       States further away from the long-established Congressional goal of bolstering science
       through the NIH.
                Drastic cuts to indirect funding would be vast and long-lasting: “[P]ublicly
       funded research may have applications far from its original area, many years or even
       decades later.” 90 Drugs approved now have been tested in clinical trials over the last
       decade. 91 Even a temporary pause of certain research programs will very likely result
       in the loss or delay of beneficial treatments and cures for diseases.
                2.     Cuts to indirect cost reimbursements threaten economic growth
                       and local economies that depend on research institutions.
                In preserving the current rate of indirect cost reimbursement, Congress
       recognized that cuts would reduce economic growth, harm local economies that
       depend on research institutions, and particularly threaten research programs that are
       at smaller or publicly-funded institutions. 92 Researchers predict that proposed NIH


       PublicSource (Feb. 27, 2025), https://www.publicsource.org/research-funding-grant-
       nih-health-university-pittsburgh-pitt-trump/.
          87
            Megan Molteni, Usha Lee McFarling & Angus Chen, Graduate Student Admissions
       Paused and Cut Back as Universities React to Trump Orders on Research, STAT (Feb. 19,
       2025), https://www.statnews.com/2025/02/19/trump-funding-freeze-grad-student-
       postdoc-acceptances-paused-nih-research/.
          88
            Indirect Costs Hearing Tr., at 46; Jeff Tollefson & Richard Van Noorden, How
       Long Will the US be a Science Superpower?, 643 Nature 770, 771 (2024).
          89
               Tollefson, supra note 88, 771.
          90
               Li, supra note 14, at 78.
          91
               Park, supra note 6.
          92
               Indirect Costs Hearing Tr., 1–2 (Chairman Cole opening statement).


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       funding cuts will lead to an estimated loss of $16 billion in the economy and 68,000
       jobs nationwide. 93 A researcher at University of Pittsburgh compared it to closing a
       steel mill: “This is not a steel town anymore; it’s a biomedical research town, and
       those cuts would affect Pittsburgh perhaps more than any other city in the country.” 94
       Local economies dependent on research institutions will be the hardest hit by these
       caps in indirect funding, which will cut economic activity and high-quality jobs: 95
          • Michigan State University’s partnership with the Henry Ford Health was
                supposed to bring 500 new jobs to “support innovative research efforts in
                cancer, cardiovascular, and neurosciences” and 1,000 construction jobs to
                Detroit, MI, but if the cuts to indirect funding go forward the project will have
                to be paused or abandoned. 96
          • The University of Alabama, Birmingham estimates that it would lose $70
                million per year in indirect funding, impairing many of its functions, 97 and it is
                the state’s largest employer. 98
          • Morehouse School of Medicine in Atlanta, GA, would likely be forced to lay
                off 66 employees, including research and clinical staff. 99




          93
             Sophia Neaman, Map Co-Developed by Annenberg Researchers Estimates Economic, Job
       Loss Impact of NIH Funding Cuts, The Daily Pennsylvanian (Apr. 15, 2025),
       https://www.thedp.com/article/2025/04/penn-nih-cuts-interactive-map-annenberg.
          94
               Siriwardane, supra note 86.
          95
               Park, supra note 6.
          96
               J.A. 225. (Decl. of Douglas A. Gage, Ph.D.).
          97
               J.A. 785 (Decl. of Dr. Anupam Agarwal).
          98
            All Things Considered, Possible Cuts to NIH Funding Could Affect Research in
       Alabama, NPR (Feb. 17, 2025), https://www.npr.org/2025/02/17/nx-s1-
       5292265/possible-cuts-to-nih-funding-could-affect-research-in-alabama.
          99
               J.A. 750–51 (Decl. of Valerie Montgomery Rice, MD, FACOG).


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       Other state institutions may also have to lay off workers, including the University of
       New Mexico, the University of Wisconsin-Madison, and the University of Illinois
       System. 100 Less able to turn to endowments or fundraising, state universities would
       have to “pick and choose a small number of grants” to support or allow their research
       programs to “just become derelict.” 101 These concerns are not new, and they have
       informed Congress’s decision to adopt the 2018 rider and preserve the NIH’s
       approach to negotiated indirect cost rates every year since. 102
                Meanwhile, the Rate Change Notice would forfeit the large return on
       investment that publicly funded research provides. It is estimated that for every $1 in
       NIH research funding, $2.56 in economic activity is created. 103 In 2024, roughly $37
       billion in NIH grants supported 407,782 jobs and $94.5 billion in new economic
       activity. 104 And in the long run, medical research reduces costs by improving the




          100
              Lauren Lifke & Lily Alexander, Uncertainty Looms over UNM with Proposed Federal
       Research Funding Cuts, New Mexico Daily Lobo (Feb. 17, 2025),
       https://www.dailylobo.com/article/2025/02/uncertainty-looms-over-unm-with-
       proposed-federal-medical-research-cuts; J.A. 17 (Decl. of Dr. Joseph T. Walsh);
       Beatrice Lawrence, NIH Funding Cuts ‘A Travesty to Biomedical Research,’ Says UW
       Research Director, Wisconsin Public Radio (Feb. 25, 2025), https://www.wpr.org/
       news/nih-funding-cuts-travesty-biomedical-research-uw-madison-wisconsin-institute-
       discovery.
          101
             Jocelyn Kaiser, NIH Plan to Reduce Overhead Payments Draws Fire, Science (June 2,
       2017), https://www.science.org/content/article/nih-plan-reduce-overhead-payments-
       draws-fire.
          102
                Indirect Costs Hearing Tr., 14.
          103
             United for Medical Research, NIH’s Role in Sustaining the U.S. Economy, (March
       2025), at 1, https://www.unitedformedicalresearch.org/wp-content/uploads/
       2025/03/UMR_NIH-Role-in-Sustaining-US-Economy-FY2024-2025-Update.pdf.
          104
                Id.


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       health of our national population. 105 In terms of marketable products, one study
       found that 8.4 percent of NIH grants were directly acknowledged in patents for
       products, and 31 percent of studies produced by NIH-funded research were cited by
       patents. 106 Caps on indirect funding will lead to job loss and diminishing innovation
       and economic activity.
                3.     Cuts to indirect funding will defund a generation of scientists.
                Finally, the appropriations rider reflects significant concern by Congress about
       the generational impact that funding cuts would have upon new scientists. 107 The
       younger generation of researchers and scientists will be most affected by the cap in
       indirect costs. To set up their laboratories and obtain essential equipment, “[t]hat’s all
       funded by indirect costs from other researchers that [have] been recovered.” 108
       Cutting and capping indirect costs will reduce and in some cases halt graduate
       admissions for lack of funding, decreasing available opportunities for up-and-coming
       scientists in the U.S. 109 Indeed, in response to the Rate Change Notice, multiple
       universities have already suspended or reduced doctoral admissions. 110 Additionally,


          105
             Written Testimony of Dr. Gary Gilliland, Indirect Costs Hearing (2017), at 2,
       https://docs.house.gov/meetings/AP/AP07/20171024/106525/HHRG-115-AP07-
       Wstate-GillilandG-20171024.pdf.
          106
                Li, supra note 14, at 78.
          107
                Indirect Costs Hearing Tr., at 40.
          108
              Anushree Vashist & Zachary Leiter, “Flagrantly Unlawful”: UChicago Sues NIH
       over Funding Cuts, Chicago Maroon (Feb. 11, 2025),
       https://chicagomaroon.com/45412/news/flagrantly-unlawful-uchicago-sues-nih-
       over-funding-cuts/.
          109
                Molteni, supra note 87; Chen, supra note 6.
          110
             Katherine Knott, Colleges Restrict Graduate Student Admissions After NIH Proposes
       Rate Cut, Inside Higher Ed (Feb. 25, 2025), https://www.insidehighered.com/news/
       government/science-research-policy/2025/02/25/facing-nih-cuts-colleges-restrict-
       grad-student; Molteni, supra note 87.


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       many research institutions have started hiring freezes. 111 As one researcher at the
       University of Maryland put it, “It’s creating a jolt in the market that is going to be
       disabling for labs, especially the smaller ones, because they won’t have the human
       capital to do their science…It’s going to be a cascading kind of chain effect through
       the entire ecosystem.” 112
                All of Congress’s policy concerns point in the same direction: shrinking
       opportunities for scientists in the United States will slow down science and medicine
       far into the future to the detriment of all.
                                          IV.   CONCLUSION
                For these reasons, the Court should affirm the district court’s injunction.




          111
                Molteni, supra note 87.
          112
                Id.


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             I certify that on June 16, 2025, I electronically filed Brief of Amicus Curiae in
       Support of Appellees and Affirmance with the Clerk of the Court for the U.S. Court
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